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                                UNITED STATES DISTRICT COURT
 1
                              NORTHERN DISTRICT OF CALIFORNIA
 2

 3   X. Corp.,

 4                                 Plaintiff,                Case No. 3:23-CV-03698-WHA

 5          v.

 6   BRIGHT DATA, LTD.

 7                                 Defendant

 8
                 DECLARATION OF DAVID A. MUNKITTRICK IN SUPPORT OF
 9                       BRIGHT DATA’S MOTION TO DISMISS

10    I, David A. Munkittrick, state and declare as follows:

11          1.      I am an attorney at the law firm Proskauer Rose LLP in New York, New York.

12    Proskauer Rose LLP serves as counsel to Defendant Bright Data, Ltd. (“Bright Data”).

13          2.      I submit this declaration in support of Bright Data’s Motion to Dismiss.

14          3.      I have personal knowledge of the information contained in this Declaration.

15          4.      Attached are true and correct copies of the following:

16          Exhibit 1.     X Terms of Service, as of September 29, 2023, available at
                           twitter.com/en/tos.
17
            Exhibit 2.     X Privacy Policy, as            of    September   29,   2023,   available   at
18                         twitter.com/en/privacy.
19
            Exhibit 3.     Twitter Privacy Policy, effective June            18,   2017,   available   at
20                         twitter.com/en/privacy/previous/version_13.

21
            5.      I declare under penalty of perjury under the laws of the United States that the
22
      foregoing is true and accurate to the best of my knowledge and belief.
23

24

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28
                                       Declaration of David A. Munkittrick
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                                                     Page 1
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     Dated: October 25, 2023                        Respectfully submitted,
 1

 2                                                  /s/ David A. Munkittrick
                                                    David A. Munkittrick
 3                                                  PROSKAUER ROSE LLP
                                                    Eleven Times Square
 4
                                                    New York, New York 10036
 5                                                  (212) 969-3000
                                                    dmunkittrick@proskauer.com
 6

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                               Declaration of David A. Munkittrick
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            EXHIBIT 1
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X Terms of Service
Summary of our Terms
These Terms of Service (“Terms”) are part of the User Agreement– a legally binding
contract governing your use of X. You should read these Terms of Service (“Terms”) in
full, but here are a few key things you should take away:

   ●   You will see advertising on the platform: In exchange for accessing the Services,
       X and our third-party providers and partners may display advertising to you.

   ●   When posting Content and otherwise using the Services, you must comply
       with this User Agreement and Applicable Law: You are responsible for your use
       of the Services and your Content. You must comply with this User Agreement, its
       incorporated policies, and all applicable laws.

   ●   You must abide by the Services’ acceptable use terms: You may not access the
       Services in any way other than through the currently available, published interfaces
       that we provide. For example, this means that you cannot scrape the Services, try
       to work around any technical limitations we impose, or otherwise attempt to disrupt
       the operation of the Services.

   ●   We have broad enforcement rights: X reserves the right to take enforcement
       actions against you if you do violate these terms, such as, for example, removing
       your Content, limiting visibility, discontinuing your access to X, or taking legal
       action. We may also suspend or terminate your account for other reasons, such as
       prolonged inactivity, risk of legal exposure, or commercial inviability.

   ●   There are Intellectual Property Licenses in these Terms: You retain ownership
       and rights to any of your Content you post or share, and you provide us with a
       broad, royalty-free license to make your Content available to the rest of the world
       and to let others do the same. Conversely, we provide you a license to use the
       software we provide as part of the Services, such as the X mobile application,
       solely for the purpose of enabling you to use and enjoy the benefit of the Services.

   ●   Your use of the Services is at your own risk: We provide the Services on an “AS
       IS” and “AS AVAILABLE” basis, and we disclaim all warranties, responsibility, and
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       liability to you or others to the extent permitted by law. You may be exposed to
       offensive or harmful content posted by other users. The Services may change from
       time to time, and we may limit or terminate availability of the Services or particular
       features to you or other users at any time.

   ●   You have remedies and redress mechanisms, but our liability is limited: You
       have a right to terminate this agreement at any time by deactivating your account
       and discontinuing use of the Services. Note that we will not be liable for certain
       types of damages as described in the agreement, and in any event, our aggregate
       liability shall not exceed the greater of $100 USD or the amount you paid us, if any,
       in the past six months for the Services giving rise to the claim. Further, if you
       believe that your Content has been copied in a way that constitutes copyright
       infringement, the reporting process is detailed in these Terms.

Please also note that these Terms incorporate our Privacy Policy (https://x.com/privacy) as
well as other terms applicable to your use of the Services and your Content. Finally, these
terms may vary depending on where you live, but in any case, you must be at least 13 years
old to use X.



If you live outside the European Union, EFTA States, or the United Kingdom, including if
you live in the United States, the X User Agreement comprises these Terms of Service, our
Privacy Policy, our Rules and Policies, and all incorporated policies.

If you live in the European Union, EFTA States, or the United Kingdom, the X User
Agreement comprises these Terms of Service, our Privacy Policy, our Rules and Policies, and
all incorporated policies.




X Terms of Service
If you live outside the European Union, EFTA States, or the
United Kingdom, including if you live in the United States

These Terms of Service (“Terms”) govern your access to and use of our services, including our
various websites, SMS, APIs, email notifications, applications, buttons, widgets, ads,
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commerce services, and our other covered services
(https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates) that link to these
Terms (collectively, the “Services”), and any information, text, links, graphics, photos, audio,
videos, or other materials or arrangements of materials uploaded, downloaded or appearing
on the Services (collectively referred to as “Content”). By using the Services you agree to be
bound by these Terms.

These Terms are an agreement between you and X Corp., which provides X and the Services,
1355 Market Street, Suite 900, San Francisco, CA 94103 U.S.A. The words “we,” “us,” and
“our” mean X Corp.




1. Who May Use the Services
You may use the Services only if you agree to form a binding contract with us and are not a
person barred from receiving services under the laws of the applicable jurisdiction. In any
case, you must be at least 13 years old to use the Services. If you are accepting these Terms
and using the Services on behalf of a company, organization, government, or other legal
entity, you represent and warrant that you are authorized to do so and have the authority to
bind such entity to these Terms, in which case the words “you” and “your” as used in these
Terms shall refer to such entity.




2. Privacy
Our Privacy Policy (https://www.x.com/privacy) describes how we handle the information you
provide to us when you use the Services. You understand that through your use of the
Services you consent to the collection and use (as set forth in the Privacy Policy) of this
information, including the transfer of this information to the United States, Ireland, and/or other
countries for storage, processing and use by us and our affiliates.




3. Content on the Services
You are responsible for your use of the Services and for any Content you provide, including
compliance with applicable laws, rules, and regulations. You should only provide Content that
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you are comfortable sharing with others.

Any use or reliance on any Content or materials posted via the Services or obtained by you
through the Services is at your own risk. We do not endorse, support, represent or guarantee
the completeness, truthfulness, accuracy, or reliability of any Content or communications
posted via the Services or endorse any opinions expressed via the Services. You understand
that by using the Services, you may be exposed to Content that might be offensive, harmful,
inaccurate or otherwise inappropriate, or in some cases, postings that have been mislabeled
or are otherwise deceptive. All Content is the sole responsibility of the person who originated
such Content. We may not monitor or control the Content posted via the Services and, we
cannot take responsibility for such Content.

We reserve the right to remove Content that violates the User Agreement, including for
example, copyright or trademark violations or other intellectual property misappropriation,
impersonation, unlawful conduct, or harassment. Information regarding specific policies and
the process for reporting or appealing violations can be found in our Help Center
(https://help.x.com/rules-and-policies/x-report-violation#specific-violations and
https://help.x.com/managing-your-account/suspended-x-accounts).

If you believe that your Content has been copied in a way that constitutes copyright
infringement, please report this by visiting our Copyright reporting form
(https://help.x.com/forms/dmca) or contacting our designated copyright agent at:

X Corp.
Attn: Copyright Agent
1355 Market Street, Suite 900
San Francisco, CA 94103
Reports: https://help.x.com/forms/dmca
Email: copyright@x.com



Your Rights and Grant of Rights in the Content

You retain your rights to any Content you submit, post or display on or through the Services.
What’s yours is yours — you own your Content (and your incorporated audio, photos and
videos are considered part of the Content).

By submitting, posting or displaying Content on or through the Services, you grant us a
worldwide, non-exclusive, royalty-free license (with the right to sublicense) to use, copy,
reproduce, process, adapt, modify, publish, transmit, display and distribute such Content in
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any and all media or distribution methods now known or later developed (for clarity, these
rights include, for example, curating, transforming, and translating). This license authorizes us
to make your Content available to the rest of the world and to let others do the same. You
agree that this license includes the right for us to provide, promote, and improve the Services
and to make Content submitted to or through the Services available to other companies,
organizations or individuals for the syndication, broadcast, distribution, repost, promotion or
publication of such Content on other media and services, subject to our terms and conditions
for such Content use. Such additional uses by us, or other companies, organizations or
individuals, is made with no compensation paid to you with respect to the Content that you
submit, post, transmit or otherwise make available through the Services as the use of the
Services by you is hereby agreed as being sufficient compensation for the Content and grant
of rights herein.

We have an evolving set of rules for how ecosystem partners can interact with your Content
on the Services. These rules exist to enable an open ecosystem with your rights in mind. You
understand that we may modify or adapt your Content as it is distributed, syndicated,
published, or broadcast by us and our partners and/or make changes to your Content in order
to adapt the Content to different media.

You represent and warrant that you have, or have obtained, all rights, licenses, consents,
permissions, power and/or authority necessary to grant the rights granted herein for any
Content that you submit, post or display on or through the Services. You agree that such
Content will not contain material subject to copyright or other proprietary rights, unless you
have necessary permission or are otherwise legally entitled to post the material and to grant
us the license described above.




4. Using the Services
Please review our Rules and Policies, which are part of the User Agreement and outline
conduct that is prohibited on the Services. You may use the Services only in compliance with
these Terms and all applicable laws, rules and regulations. X takes enforcement actions when
Content or user behavior is in violation of our Rules and Policies or in relation to sensitive
media. You can review X’s enforcement options and how you can appeal our enforcement
decision here.

The Services evolve constantly. As such, the Services may change from time to time, at our
discretion. We may stop (permanently or temporarily) providing the Services or any features
within the Services to you or to users generally. We also retain the right to create limits on use
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and storage at our sole discretion at any time. We may also remove or refuse to distribute any
Content on the Services, limit distribution or visibility of any Content on the service, suspend
or terminate users, and reclaim usernames without liability to you.

In consideration for our granting you access to and use of the Services, you agree that we and
our third-party providers and partners may place advertising on the Services or in connection
with the display of Content or information from the Services whether submitted by you or
others. We also reserve the right to access, read, preserve, and disclose any information as
we reasonably believe is necessary to (i) satisfy any applicable law, regulation, legal process or
governmental request, (ii) enforce the Terms, including investigation of potential violations
hereof, (iii) detect, prevent, or otherwise address fraud, security or technical issues, (iv)
respond to user support requests, or (v) protect the rights, property or safety of X, its users
and the public. We do not disclose personally-identifying information to third parties except in
accordance with our Privacy Policy.

Certain services or features may be offered on X for which additional terms and conditions
may apply in connection with your use of those services. By using or paying for any of these
additional services, you agree to any additional terms applicable to those services, and those
additional terms become part of our agreement with you. If any of the applicable additional
terms conflict with these Terms, the additional terms will prevail while you are using those
services to which they apply.

If you use paid features of the Services, you agree to the applicable Terms for Paid Services
(https://legal.x.com/purchaser-terms.html).

If you use developer features of the Services, including but not limited to X for Websites
(https://developer.x.com/docs/twitter-for-websites), X Cards
(https://developer.x.com/docs/twitter-for-websites/cards/overview/abouts-cards), Public API
(https://developer.x.com/docs), or Sign in with X
(https://developer.x.com/docs/authentication/guides/log-in-with-twitter), you agree to our
Developer Agreement (https://developer.x.com/developer-terms/agreement) and Developer
Policy (https://developer.x.com/developer-terms/policy). If you want to reproduce, modify,
create derivative works, distribute, sell, transfer, publicly display, publicly perform, transmit, or
otherwise use the Services or Content on the Services, you must use the interfaces and
instructions we provide, except as permitted through the Services, these Terms, or the terms
provided on https://developer.x.com/developer-terms. Otherwise, all such actions are strictly
prohibited. If you are a security researcher, you are required to comply with the rules of our
Vulnerability Reporting Program (https://hackerone.com/x). The requirements set out in the
preceding paragraph may not apply to those participating in our Vulnerability Reporting
Program.
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If you use advertising features of the Services, you agree to our Master Services Agreement
(https://ads.x.com/terms).




Your Account
You may need to create an account to use the Services. You are responsible for safeguarding
your account, so use a strong password and limit its use to this account. We cannot and will
not be liable for any loss or damage arising from your failure to comply with the above.

You can control most communications from the Services. We may need to provide you with
certain communications, such as service announcements and administrative messages.
These communications are considered part of the Services and your account, and you may
not be able to opt-out from receiving them. If you added your phone number to your account
and you later change or deactivate that phone number, you must update your account
information to help prevent us from communicating with anyone who acquires your old
number.




Your License to Use the Services
We give you a personal, worldwide, royalty-free, non-assignable and non-exclusive license to
use the software provided to you as part of the Services. This license has the sole purpose of
enabling you to use and enjoy the benefit of the Services as provided on X, in the manner
permitted by these Terms.

The Services are protected by copyright, trademark, and other laws of both the United States
and other countries. Nothing in the Terms gives you a right to use the X name or any of the X
trademarks, logos, domain names, other distinctive brand features, and other proprietary
rights. All right, title, and interest in and to the Services (excluding Content provided by users)
are and will remain our and our licensors' exclusive property. Any feedback, comments, or
suggestions you may provide regarding X, or the Services is entirely voluntary and we will be
free to use such feedback, comments or suggestions as we see fit and without any obligation
to you.
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Misuse of the Services
You also agree not to misuse the Services, for example, by interfering with them or accessing
them using a method other than the interface and the instructions that we provide. You agree
that you will not work around any technical limitations in the software provided to you as part
of the Services, or reverse engineer, decompile or disassemble the software, except and only
to the extent that applicable law expressly permits. You may not do any of the following while
accessing or using the Services: (i) access, tamper with, or use non-public areas of the
Services, our computer systems, or the technical delivery systems of our providers; (ii) probe,
scan, or test the vulnerability of any system or network or breach or circumvent any security or
authentication measures; (iii) access or search or attempt to access or search the Services by
any means (automated or otherwise) other than through our currently available, published
interfaces that are provided by us (and only pursuant to the applicable terms and conditions),
unless you have been specifically allowed to do so in a separate agreement with us (NOTE:
crawling or scraping the Services in any form, for any purpose without our prior written
consent is expressly prohibited); (iv) forge any TCP/IP packet header or any part of the header
information in any email or posting, or in any way use the Services to send altered, deceptive
or false source-identifying information; (v) engage in any conduct that violates our Platform
Manipulation and Spam Policy or any other Rules and Policies; or (vi) interfere with, or disrupt,
(or attempt to do so), the access of any user, host or network, including, without limitation,
sending a virus, overloading, flooding, spamming, mail-bombing the Services, or by scripting
the creation of Content in such a manner as to interfere with or create an undue burden on the
Services. It is also a violation of these Terms to facilitate or assist others in violating these
Terms, including by distributing products or services that enable or encourage violation of
these Terms.


Ending These Terms
You may end your legal agreement with us at any time by deactivating your accounts and
discontinuing your use of the Services. See
https://help.x.com/managing-your-account/how-to-deactivate-x-account for instructions on
how to deactivate your account and the Privacy Policy for more information on what happens
to your information.

We may suspend or terminate your account or cease providing you with all or part of the
Services at any time if we reasonably believe: (i) you have violated these Terms or our Rules
and Policies, (ii) you create risk or possible legal exposure for us; (iii) your account should be
removed due to unlawful conduct; (iv) your account should be removed due to prolonged
inactivity; or (v) our provision of the Services to you is no longer commercially viable. We will
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make reasonable efforts to notify you by the email address associated with your account or
the next time you attempt to access your account, depending on the circumstances. To the
extent permitted by law, we may also terminate your account or cease providing you with all
or part of the Services for any other reason or no reason at our convenience. In all such cases,
the Terms shall terminate, including, without limitation, your license to use the Services,
except that the following sections shall continue to apply: 2, 3, 5, 6, and the misuse provisions
of Section 4 (“Misuse of the Services”). If you believe your account was terminated in error
you can file an appeal following the steps found in our Help Center
(https://help.x.com/forms/account-access/appeals). For the avoidance of doubt, these Terms
survive the deactivation or termination of your account.




5. Disclaimers and Limitations of Liability
The Services are Available "AS-IS"
Your access to and use of the Services or any Content are at your own risk. You understand
and agree that the Services are provided to you on an “AS IS” and “AS AVAILABLE” basis. The
“X Entities” refers to X Corp., its parents, affiliates, related companies, officers, directors,
employees, agents, representatives, partners, and licensors. Without limiting the foregoing, to
the maximum extent permitted under applicable law, THE X ENTITIES DISCLAIM ALL
WARRANTIES AND CONDITIONS, WHETHER EXPRESS OR IMPLIED, OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-INFRINGEMENT.
The X Entities make no warranty or representation and disclaim all responsibility and liability
for: (i) the completeness, accuracy, availability, timeliness, security or reliability of the Services
or any Content; (ii) any harm to your computer system, loss of data, or other harm that results
from your access to or use of the Services or any Content; (iii) the deletion of, or the failure to
store or to transmit, any Content and other communications maintained by the Services; and
(iv) whether the Services will meet your requirements or be available on an uninterrupted,
secure, or error-free basis. No advice or information, whether oral or written, obtained from the
X Entities or through the Services, will create any warranty or representation not expressly
made herein.




Limitation of Liability
TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, THE X ENTITIES SHALL NOT
BE LIABLE FOR ANY INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL OR PUNITIVE
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DAMAGES, OR ANY LOSS OF PROFITS OR REVENUES, WHETHER INCURRED DIRECTLY
OR INDIRECTLY, OR ANY LOSS OF DATA, USE, GOODWILL, OR OTHER INTANGIBLE
LOSSES, RESULTING FROM (i) YOUR ACCESS TO OR USE OF OR INABILITY TO ACCESS
OR USE THE SERVICES; (ii) ANY CONDUCT OR CONTENT OF ANY THIRD PARTY ON THE
SERVICES, INCLUDING WITHOUT LIMITATION, ANY DEFAMATORY, OFFENSIVE OR
ILLEGAL CONDUCT OF OTHER USERS OR THIRD PARTIES; (iii) ANY CONTENT OBTAINED
FROM THE SERVICES; OR (iv) UNAUTHORIZED ACCESS, USE OR ALTERATION OF YOUR
TRANSMISSIONS OR CONTENT. IN NO EVENT SHALL THE AGGREGATE LIABILITY OF THE
X ENTITIES EXCEED THE GREATER OF ONE HUNDRED U.S. DOLLARS (U.S. $100.00) OR
THE AMOUNT YOU PAID US, IF ANY, IN THE PAST SIX MONTHS FOR THE SERVICES
GIVING RISE TO THE CLAIM. THE LIMITATIONS OF THIS SUBSECTION SHALL APPLY TO
ANY THEORY OF LIABILITY, WHETHER BASED ON WARRANTY, CONTRACT, STATUTE,
TORT (INCLUDING NEGLIGENCE) OR OTHERWISE, AND WHETHER OR NOT THE X
ENTITIES HAVE BEEN INFORMED OF THE POSSIBILITY OF ANY SUCH DAMAGE, AND
EVEN IF A REMEDY SET FORTH HEREIN IS FOUND TO HAVE FAILED OF ITS ESSENTIAL
PURPOSE.




6. General
We may revise these Terms from time to time. The changes will not be retroactive, and the
most current version of the Terms, which will always be at x.com/tos, will govern our
relationship with you. We will try to notify you of material revisions, for example via a service
notification or an email to the email associated with your account. By continuing to access or
use the Services after those revisions become effective, you agree to be bound by the revised
Terms. To the extent permitted by law, you also waive the right to participate as a plaintiff or
class member in any purported class action, collective action or representative action
proceeding.

The laws of the State of California, excluding its choice of law provisions, will govern these
Terms and any dispute that arises between you and us. All disputes related to these Terms or
the Services will be brought solely in the federal or state courts located in San Francisco
County, California, United States, and you consent to personal jurisdiction and waive any
objection as to inconvenient forum. To the extent permitted by law, you also waive the right to
participate as a plaintiff or class member in any purported class action, collective action or
representative action proceeding.

If you are a federal, state, or local government entity in the United States using the Services in
your official capacity and legally unable to accept the controlling law, jurisdiction or venue
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clauses above, then those clauses do not apply to you. For such U.S. federal government
entities, these Terms and any action related thereto will be governed by the laws of the United
States of America (without reference to conflict of laws) and, in the absence of federal law and
to the extent permitted under federal law, the laws of the State of California (excluding choice
of law).

The X User Agreement is written in English but is made available in multiple languages through
translations. X strives to make the translations as accurate as possible to the original English
version. However, in case of any discrepancies or inconsistencies, the English language
version of the X User Agreement shall take precedence. You acknowledge that English shall
be the language of reference for interpreting and constructing the terms of the X User
Agreement.

In the event that any provision of these Terms is held to be invalid or unenforceable, then that
provision will be limited or eliminated to the minimum extent necessary, and the remaining
provisions of these Terms will remain in full force and effect. Our failure to enforce any right or
provision of these Terms will not be deemed a waiver of such right or provision.

If you have any questions about these Terms, please contact us.

Effective: September 29, 2023

Archive of Previous Terms




X Terms of Service
If you live in the European Union, EFTA States, or the United
Kingdom

These Terms of Service (“Terms”) govern your access to and use of the services, including our
various websites, SMS, APIs, email notifications, applications, buttons, widgets, ads, commerce
services, and our other covered services
(https://help.x.com/rules-and-policies/x-services-and-corporate-affiliates) that link to these Terms
(collectively, the “Services”), and any information, text, links, graphics, photos, audio, videos, or
other materials or arrangements of materials uploaded, downloaded or appearing on the Services
(collectively referred to as “Content”). By using the Services you agree to be bound by these
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Terms.

These Terms are an agreement between you and Twitter International Unlimited Company (Co.
number 503351, VAT number IE9803175Q), an Irish company, which provides X and the Services,
with its registered office at One Cumberland Place, Fenian Street Dublin 2, D02 AX07 Ireland. The
words “we,” “us,” and “our,” mean Twitter International Unlimited Company.




1. Who May Use the Services
You may use the Services only if you agree to form a binding contract with us and are not a
person barred from receiving services under the laws of the applicable jurisdiction. In any case,
you must be at least 13 years old to use the Services. If you are accepting these Terms and using
the Services on behalf of a company, organization, government, or other legal entity, you
represent and warrant that you are authorized to do so and have the authority to bind such entity
to these Terms, in which case the words “you” and “your” as used in these Terms shall refer to
such entity.




2. Privacy
Our Privacy Policy (https://www.x.com/privacy) describes how we handle the information you
provide to us when you use the Services. You understand that through your use of the Services
you consent to the collection and use (as set forth in the Privacy Policy) of this information,
including the transfer of this information to the United States, Ireland, and/or other countries for
storage, processing and use by us and our affiliates.




3. Content on the Services
You are responsible for your use of the Services and for any Content you provide, including
compliance with applicable laws, rules, and regulations. You should only provide Content that you
are comfortable sharing with others.

Any use or reliance on any Content or materials posted via the Services or obtained by you
through the Services is at your own risk. We do not endorse, support, represent or guarantee the
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completeness, truthfulness, accuracy, or reliability of any Content or communications posted via
the Services or endorse any opinions expressed via the Services. You understand that by using
the Services, you may be exposed to Content that might be offensive, harmful, inaccurate or
otherwise inappropriate, or in some cases, postings that have been mislabeled or are otherwise
deceptive. All Content is the sole responsibility of the person who originated such Content. We
may not monitor or control the Content posted via the Services and, we cannot take responsibility
for such Content.

We reserve the right to remove Content that violates the User Agreement, including for example,
copyright or trademark violations or other intellectual property misappropriation, impersonation,
unlawful conduct, or harassment. Information regarding specific policies and the process for
reporting or appealing violations can be found in our Help Center
(https://help.x.com/rules-and-policies/x-report-violation and
https://help.x.com/managing-your-account/suspended-x-accounts).

If you believe that your Content has been copied in a way that constitutes copyright infringement,
please report this by visiting our Copyright reporting form (https://help.x.com/forms/dmca) or
contacting our designated copyright agent at:

X Corp.
Attn: Copyright Agent
1355 Market Street, Suite 900
San Francisco, CA 94103
Reports: https://help.x.com/forms/dmca
Email: copyright@x.com



Your Rights and Grant of Rights in the Content
You retain your rights to any Content you submit, post or display on or through the Services.
What’s yours is yours — you own your Content (and your incorporated audio, photos and videos
are considered part of the Content).

By submitting, posting or displaying Content on or through the Services, you grant us a
worldwide, non-exclusive, royalty-free license (with the right to sublicense) to use, copy,
reproduce, process, adapt, modify, publish, transmit, display and distribute such Content in any
and all media or distribution methods now known or later developed (for clarity, these rights
include, for example, curating, transforming, and translating). This license authorizes us to make
your Content available to the rest of the world and to let others do the same. However, if you have
chosen via our features to limit the distribution of your Content to a restricted community, we will
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respect that choice. You also agree that this license includes the right to analyze text and other
information you provide with the view to improve the Services. You agree that this license includes
the right for us to provide, promote, and improve the Services and to make Content submitted to
or through the Services available to other companies, organizations or individuals for the
syndication, broadcast, distribution, repost, promotion or publication of such Content on other
media and services, subject to our terms and conditions for such Content use. Such additional
uses by us, or other companies, organizations or individuals, is made with no compensation paid
to you with respect to the Content that you submit, post, transmit or otherwise make available
through the Services as the use of the Services by you is hereby agreed as being sufficient
compensation for the Content and grant of rights herein.

We have an evolving set of rules for how ecosystem partners can interact with your Content on
the Services. These rules exist to enable an open ecosystem with your rights in mind. You
understand that we may modify or adapt your Content as it is distributed, syndicated, published,
or broadcast by us and our partners and/or make changes to your Content in order to adapt the
Content to different media.

You represent and warrant that you have, or have obtained, all rights, licenses, consents,
permissions, power and/or authority necessary to grant the rights granted herein for any Content
that you submit, post or display on or through the Services. You agree that such Content will not
contain material subject to copyright or other proprietary rights, unless you have necessary
permission or are otherwise legally entitled to post the material and to grant us the license
described above.


4. Using the Services
Please review our Rules and Policies, which are part of the User Agreement and outline conduct
that is prohibited on the Services. You may use the Services only in compliance with these Terms
and all applicable laws, rules and regulations. X takes enforcement actions when Content or user
behavior is in violation of our Rules and Policies or in relation to sensitive media. You can review
X’s enforcement options and how you can appeal our enforcement decision here.

The Services evolve constantly. As such, the Services may change from time to time, at our
discretion. We may stop (permanently or temporarily) providing the Services or any features within
the Services to you or to users generally. We also retain the right to create limits on use and
storage at our sole discretion at any time. We may also remove or refuse to distribute any Content
on the Services, limit distribution or visibility of any Content on the service, suspend or terminate
users, and reclaim usernames if it is appropriate, including for the following reasons: (i) protecting
the Services or our users; (ii) compliance with applicable laws or orders from competent
authorities; (iii) breach of these Terms or our Rules and Policies or third parties' intellectual
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property or other rights; (iv) if you or your Content exposes us, other users or any third party to
legal or regulatory risk; and/or (v) your prolonged inactivity.

In consideration for our granting you access to and use of the Services, you agree that we and our
third-party providers and partners may place advertising on the Services or in connection with the
display of Content or information from the Services whether submitted by you or others. We also
reserve the right to access, read, preserve, and disclose any information as we reasonably believe
is necessary to (i) satisfy any applicable law, regulation, legal process or governmental request, (ii)
enforce the Terms, including investigation of potential violations hereof, (iii) detect, prevent, or
otherwise address fraud, security or technical issues, (iv) respond to user support requests, or (v)
protect the rights, property or safety of X, its users and the public. We do not disclose
personally-identifying information to third parties except in accordance with our Privacy Policy.

Certain services or features may be offered on X for which additional terms and conditions may
apply in connection with your use of those services. These additional terms are accessible from
our sites and applications dedicated to these services or features. By using or paying for any of
these additional services, you will have to agree to any additional terms applicable to those
services, and those additional terms will then also become part of our agreement with you. If any
of the applicable additional terms conflict with these Terms, the additional terms will prevail while
you are using those services to which they apply.

If you use paid features of the Services, you agree to the applicable Terms for Paid Services
(https://legal.x.com/purchaser-terms.html).

If you use developer features of the Services, including but not limited to X for Websites
(https://developer.x.com/docs/twitter-for-websites), X Cards
(https://developer.x.com/docs/twitter-for-websites/cards/overview/abouts-cards), Public API
(https://developer.x.com/docs), or Sign in with X
(https://developer.x.com/docs/authentication/guides/log-in-with-twitter), you agree to our
Developer Agreement (https://developer.x.com/developer-terms/agreement) and Developer Policy
(https://developer.x.com/developer-terms/policy). If you want to reproduce, modify, create
derivative works, distribute, sell, transfer, publicly display, publicly perform, transmit, or otherwise
use the Services or Content on the Services, you must use the interfaces and instructions we
provide, except as permitted through the Services, these Terms, or the terms provided on
https://developer.x.com/developer-terms. Otherwise, all such actions are strictly prohibited. If you
are a security researcher, you are required to comply with the rules of our Vulnerability Reporting
Program (https://hackerone.com/x). The requirements set out in the preceding paragraph may not
apply to those participating in our Vulnerability Reporting Program.
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If you use advertising features of the Services, you agree to our Master Services Agreement
(https://ads.x.com/terms).




Your Account
You may need to create an account to use the Services. You are responsible for safeguarding your
account, so use a strong password and limit its use to this account. We cannot and will not be
liable for any loss or damage arising from your failure to comply with the above.

You can control most communications from the Services. We may need to provide you with
certain communications, such as service announcements and administrative messages. These
communications are considered part of the Services and your account, and you may not be able
to opt-out from receiving them. If you added your phone number to your account and you later
change or deactivate that phone number, you must update your account information to help
prevent us from communicating with anyone who acquires your old number.




Your License to Use the Services
We give you a personal, worldwide, royalty-free, non-assignable and non-exclusive license to use
the software provided to you as part of the Services. This license has the sole purpose of enabling
you to use and enjoy the benefit of the Services as provided on X, in the manner permitted by
these Terms.

The Services are protected by copyright, trademark, and other laws of both the United States and
other countries. Nothing in the Terms gives you a right to use the X name or any of the X
trademarks, logos, domain names, other distinctive brand features, and other proprietary rights.
All right, title, and interest in and to the Services (excluding Content provided by users) are and
will remain our and our licensors' exclusive property. Any feedback, comments, or suggestions
you may provide regarding X, or the Services is entirely voluntary and we will be free to use such
feedback, comments or suggestions as we see fit and without any obligation to you.



Misuse of the Services
You also agree not to misuse the Services, for example, by interfering with them or accessing
them using a method other than the interface and the instructions that we provide. You agree that
you will not work around any technical limitations in the software provided to you as part of the
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Services, or reverse engineer, decompile or disassemble the software, except and only to the
extent that applicable law expressly permits. You may not do any of the following while accessing
or using the Services: (i) access, tamper with, or use non-public areas of the Services, our
computer systems, or the technical delivery systems of our providers; (ii) probe, scan, or test the
vulnerability of any system or network or breach or circumvent any security or authentication
measures; (iii) access or search or attempt to access or search the Services by any means
(automated or otherwise) other than through our currently available, published interfaces that are
provided by us (and only pursuant to the applicable terms and conditions), unless you have been
specifically allowed to do so in a separate agreement with us (NOTE: crawling or scraping the
Services in any form, for any purpose without our prior written consent is expressly prohibited); (iv)
forge any TCP/IP packet header or any part of the header information in any email or posting, or
in any way use the Services to send altered, deceptive or false source-identifying information; (v)
engage in any conduct that violates our Platform Manipulation and Spam Policy or any other
Rules and Policies; or (vi) interfere with, or disrupt, (or attempt to do so), the access of any user,
host or network, including, without limitation, sending a virus, overloading, flooding, spamming,
mail-bombing the Services, or by scripting the creation of Content in such a manner as to
interfere with or create an undue burden on the Services. It is also a violation of these Terms to
facilitate or assist others in violating these Terms, including by distributing products or services
that enable or encourage violation of these Terms.



Ending These Terms
You may end your legal agreement with us at any time by deactivating your accounts and
discontinuing your use of the Services. See
https://help.x.com/managing-your-account/how-to-deactivate-x-account for instructions on how
to deactivate your account and the Privacy Policy for more information on what happens to your
information.

We may suspend or terminate your account or cease providing you with all or part of the Services
at any time if we reasonably believe: (i) you have violated these Terms or our Rules and Policies;
(ii) you create risk or possible legal exposure for us; (iii) your account should be removed due to
unlawful conduct; (iv) your account should be removed due to prolonged inactivity; or (v) our
provision of the Services to you is no longer commercially viable. We will make reasonable efforts
to notify you by the email address associated with your account or the next time you attempt to
access your account, depending on the circumstances. In all such cases, the Terms shall
terminate, including, without limitation, your license to use the Services, except that the following
sections shall continue to apply: 2, 3, 5, 6, and the misuse provisions of Section 4 (“Misuse of the
Services”). If you believe your account was terminated in error you can file an appeal following the
steps found in our Help Center (https://help.x.com/forms/account-access/appeals). For the
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avoidance of doubt, these Terms survive the deactivation or termination of your account.



5. Limitations of Liability
By using the Services you agree that X Corp., its parents, affiliates, related companies, officers,
directors, employees, agents representatives, partners and licensors, liability is limited to the
maximum extent permissible in your country of residence.



6. General
We may revise these Terms from time to time. The changes will not be retroactive, and the most
current version of the Terms, which will always be at x.com/tos, will govern our relationship with you.
Other than for changes addressing new functions or made for legal reasons, we will notify you 30 days
in advance of making effective changes to these Terms that impact the rights or obligations of any
party to these Terms, for example via a service notification or an email to the email associated with
your account. By continuing to access or use the Services after those revisions become effective, you
agree to be bound by the revised Terms.

To the extent permitted by law, you waive the right to participate as a plaintiff or class member in any
purported class action, collective action or representative action proceeding.

The X User Agreement is written in English but is made available in multiple languages through
translations. X strives to make the translations as accurate as possible to the original English version.
However, in case of any discrepancies or inconsistencies, the English language version of the X User
Agreement shall take precedence. You acknowledge that English shall be the language of reference for
interpreting and constructing the terms of the X User Agreement.

In the event that any provision of these Terms is held to be invalid or unenforceable, then that provision
will be limited or eliminated to the minimum extent necessary, and the remaining provisions of these
Terms will remain in full force and effect. Our failure to enforce any right or provision of these Terms will
not be deemed a waiver of such right or provision.

If you have any questions about these Terms, please contact us.

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Archive of Previous Terms
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             EXHIBIT 2
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X Privacy Policy

Before you scroll, read this
It’s really hard to make everyone happy with a Privacy Policy. Most people who use X
want something short and easy to understand. While we wish we could fit everything
you need to know into a post, our regulators ask us to meet our legal obligations by
describing them all in a lot of detail.

With that in mind, we’ve written our Privacy Policy as simply as possible to empower
you to make informed decisions when you use X by making sure you understand and
have control over the information we collect, how it’s used, and when it’s shared.

So if you skip reading every word of the Privacy Policy, at least know this:

X is a public platform

Learn what’s viewable & searchable

We collect some data
about you

Learn what we collect & how

Affiliate services may have their own policies

Learn about affiliates

We use your data to make X better

Learn how we make your info work

You can control your experience

Learn how to update your settings
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If you have questions about how we use data, just ask

Learn how to contact us


1. Information We Collect
The information we collect when you use X falls into three categories.


1.1 Information you provide us.
To use some of our products and services you need to have an account, and to create
an account, you need to provide us certain information. Likewise, if you use our paid
products and services, we cannot provide them to you without getting payment
information. Basically, certain information is necessary if you want to use many of our
products and services.

   ● Personal Accounts. If you create an account, you must provide us with some
     information so that we can provide our services to you. This includes a display
     name (for example, “Creators”); a username (for example, @XCreators); a
     password; an email address or phone number; a date of birth; your display
     language; and third-party single sign-in information (if you choose this sign-in
     method). You can also choose to share your location in your profile and posts,
     and to upload your address book to X to help find people you may know. Your
     profile information, which includes your display name and username, is always
     public, but you can use either your real name or a pseudonym. And remember,
     you can create multiple X accounts, for example, to express different parts of
     your identity, professional or otherwise.

   ● Professional Accounts. If you create a professional account, you also need to
     provide us with a professional category, and may provide us with other
     information, including street address, contact email address, and contact phone
     number, all of which will always be public.

   ● Payment Information. In order to purchase ads or other offerings provided as
     part of our paid products and services you will need to provide us payment
     information, including your credit or debit card number, card expiration date,
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      CVV code, and billing address.

   ● Preferences. When you set your preferences using your settings, we collect that
     information so that we can respect your preferences.

   ● Biometric Information. Based on your consent, we may collect and use your
     biometric information for safety, security, and identification purposes.

   ● Job Applications / Recommendations. We may collect and use your personal
     information (such as your employment history, educational history, employment
     preferences, skills and abilities, job search activity and engagement, and so on)
     to recommend potential jobs for you, to share with potential employers when
     you apply for a job, to enable employers to find potential candidates, and to
     show you more relevant advertising.


1.2 Information we collect when you use X.
When you use our services, we collect information about how you use our products
and services. We use that information to provide you with products and services, to
help keep X more secure and respectful for everyone, and more relevant to you.

Usage Information. We collect information about your activity on X, including:

   ● Posts and other content you post (including the date, application, and version of
     X) and information about your broadcast activity (e.g., Spaces), including
     broadcasts you’ve created and when you created them, your lists, bookmarks,
     and communities you are a part of.

   ● Your interactions with other users’ content, such as reposts, likes, bookmarks,
     shares, replies, if other users mention or tag you in content or if you mention or
     tag them, and broadcasts you’ve participated in (including your viewing history,
     listening, commenting, speaking, and reacting).

   ● How you interact with others on the platform, such as people you follow and
     people who follow you, metadata related to Encrypted Messages, and when you
     use Direct Messages, including the contents of the messages, the recipients,
     and date and time of messages.
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   ● If you communicate with us, such as through email, we will collect information
     about the communication and its content.

   ● We collect information on links you interact with across our services (including in
     our emails sent to you).

Purchase and payments. To allow you to make a payment or send money using X
features or services, including through an intermediary, we may receive information
about your transaction such as when it was made, when a subscription is set to expire
or auto-renew, and amounts paid or received.

Device Information. We collect information from and about the devices you use to
access X, including:

   ● Information about your connection, such as your IP address, browser type, and
     related information.

   ● Information about your device and its settings, such as device and advertising
     ID, operating system, carrier, language, memory, apps installed, and battery
     level.

   ● Your device address book, if you’ve chosen to share it with us.

Location Information. When you use X, we collect some information about your
approximate location to provide the service you expect, including showing you relevant
ads. You can also choose to share your current precise location or places where you’ve
previously used X by enabling these settings in your account.

Inferred Identity. We may collect or receive information that we use to infer your
identity as detailed below:

   ● When you sign into X on a browser or device, we will associate that browser or
     device with your account. Subject to your settings, we may also associate your
     account with browsers or devices other than those you use to sign into X (or
     associate your signed-out device or browser with other browsers or devices or
     X-generated identifiers).
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   ● When you provide other information to X, including an email address or phone
     number, we associate that information with your X account. Subject to your
     settings, we may also use this information in order to infer other information
     about your identity, for example by associating your account with hashes of
     email addresses that share common components with the email address you
     have provided to X.

   ● When you access X and are not signed in, we may infer your identity based on
     the information we collect.

Log Information. We may receive information when you view content on or otherwise
interact with our products and services, even if you have not created an account or are
signed out, such as:

   ● IP address and related information; browser type and language; operating
     system; the referring webpage; access times; pages visited; location; your
     mobile carrier; device information (including device and application IDs); search
     terms and IDs (including those not submitted as queries); ads shown to you on
     X; X-generated identifiers; and identifiers associated with cookies. We also
     receive log information when you click on, view, or interact with links on our
     services, including when you install another application through X.


Advertisements. When you view or interact with ads we serve on or off X, we may
collect information about those views or interactions (e.g., watching a video ad or
preroll, clicking on an ad, interacting with reposts of or replies to an ad).

Cookies and similar technologies. Like many websites, we use cookies and similar
technologies to collect additional website usage data and to operate our services.
Cookies are not required for many parts of our products and services such as
searching and looking at public profiles. You can learn more about how we use cookies
and similar technologies here.

Interactions with our content on third-party sites. When you view our content on
third-party websites that integrate X content such as embedded timelines or post
buttons, we may receive log information that includes the web page you visited.
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1.3 Information we receive from third parties.
When you use other online products and services, they may share information about
that usage with us.

Ad Partners, Developers, Publishers. Our ad and business partners share information
with us such as browser cookie IDs, X-generated identifiers, mobile device IDs, hashed
user information like email addresses, demographic or interest data, and content
viewed or actions taken on a website or app. Some of our ad partners, particularly our
advertisers, also enable us to collect similar information directly from their website or
app by integrating our advertising technology. Information shared by ad partners and
affiliates or collected by X from the websites and apps of ad partners and affiliates may
be combined with the other information you share with X and that X receives,
generates, or infers about you described elsewhere in this Privacy Policy.

Other Third Parties, Account Connections, and Integrations. We may receive
information about you from third parties who are not our ad partners, such as other X
users, developers, and partners who help us evaluate the safety and quality of content
on our platform, our corporate affiliates, and other services you link to your X account.
You may choose to connect your X account to your account on another service, and
that other service may send us information about your account on that service.


2. How We Use Information
Breaking down how we use the information we collect is not simple because of the
way the systems that bring our services to you work. For example, the same piece of
information may be used differently for different purposes to ultimately deliver a single
service. We think it’s most useful to describe the five main ways we use information
and if you have questions that are not answered, you can always contact us. Here we
go:


2.1 Operate, improve, and personalize our services.

We use the information we collect to provide and operate X products and services. We
also use the information we collect to improve and personalize our products and
services so that you have a better experience on X, including by showing you more
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relevant content and ads, suggesting people and topics to follow, enabling and helping
you discover affiliates, third-party apps, and services. We may use the information we
collect and publicly available information to help train our machine learning or artificial
intelligence models for the purposes outlined in this policy.

We may use the information we collect from accounts of other services that you
choose to connect your X account to provide you features like cross-posting or
cross-service authentication, and to operate our services.

We use your contact information to help others find your account if your settings
permit, including through third-party services and client applications.

We use your information to provide our advertising and sponsored content services
subject to your settings, which helps make ads on X more relevant to you. We also use
this information to measure the effectiveness of ads and to help recognize your devices
to serve you ads on and off of X. Some of our ad partners also enable us to collect
similar information directly from their website or app by integrating our advertising
technology. Information shared by ad partners and affiliates or collected by X from the
websites and apps of ad partners and affiliates may be combined with the other
information you share with X and that X receives, generates, or infers about you, as
described elsewhere in our Privacy Policy.


2.2 Foster safety and security.
We use information we collect to provide for the safety and security of our users, our
products, services, and your account. This includes verifying your identity,
authenticating your account, and defending against fraud, unauthorized use, and illegal
activity. We also use the information to evaluate and affect the safety and quality of
content on X - this includes investigating and enforcing our policies and and terms, as
well as applicable law.



2.3 Measure, analyze and make our services better.
We use the information we collect to measure and analyze the effectiveness of our
products and services and to better understand how you use them in order to make
them better.
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2.4 Communicate with you about our services.
We use the information we collect to communicate with you about our products and
services, including about product updates and changes to our policies and terms. If
you’re open to hearing from us, we may also send you marketing messages from time
to time.


2.5 Research.
We use information you share with us, or that we collect to conduct research, surveys,
product testing, and troubleshooting to help us operate and improve our products and
services.


3. Sharing Information
You should know the ways we share your information, why we share it, and how you
can control it. There are five general ways we share your information.



3.1 When you post and share.
With the general public. You are directing us to disclose that information as broadly
as possible. X content, including your profile information (e.g., name/pseudonym,
username, profile pictures), is available for viewing by the general public. The public
does not need to be signed in to view some content on X. They may also find X content
off of X, for example from search query results on Internet search engines.

With other X users. Depending on your settings, and based on the X products and
services you use, we share:

   ● Your interactions with X content of other users, such as likes, and people you
     follow.

   ● Content you send to a specific X user, such as through Direct Messages. Please
     keep in mind that if you’ve shared information like Direct Messages or protected
     posts with someone else who accesses X through a third-party service, the
     information may be shared with the third-party service.
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With partners. Depending on your settings, we also provide certain third parties with
information to help us offer or operate our products and services. You can learn more
about these partnerships in our Help Center. You can control whether X shares your
personal information with these partners by using the “Data sharing with business
partners” option in your Privacy & Safety settings. (This setting does not control sharing
described elsewhere in this Privacy Policy, such as when we share information with our
service providers, or through partnerships other than as described in this Help Center
article.)


3.2 With third parties & third-party integrations.
With service providers. We may share your information with our service providers that
perform functions and provide services on our behalf, including payment services
providers who facilitate payments; service providers that host our various blogs and
wikis; service providers that help us understand the use of our services; applicant
tracking system providers to send and receive applicant and job data to potential
employers; and those that provide fraud detection services.

With advertisers. Advertising revenue enables us to provide our products and
services. Advertisers may learn information from your engagement with their ads on or
off X. For example, if you click on an external link or ad on our services, that advertiser
or website operator might figure out that you came from X, along with other information
associated with the ad you clicked, such as characteristics of the audience it was
intended to reach and other X-generated identifiers for that ad. They may also collect
other personal information from you, such as cookie identifiers, or your IP address.

Third-party content & integrations. We share or disclose your information with your
consent or at your direction, such as when you authorize a third-party web client or
application to access your account or when you direct us to share your feedback with
a business. Similarly, to improve your experience, we work with third-party partners to
display their video content on X or to allow cross-platform sharing. When you watch or
otherwise interact with content from our video or cross-platform sharing partners, they
may receive and process your personal information as described in their privacy
policies. For video content, you can adjust your autoplay settings if you prefer that
content not to play automatically.

Through our APIs. We use technology like APIs and embeds to make public X
information available to websites, apps, and others for their use, for example,
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displaying posts on a news website or analyzing what people say on X. We generally
make this content available in limited quantities for free and charge licensing fees for
large-scale access. We have standard terms that govern how this information can be
used, and a compliance program to enforce these terms. But these individuals and
companies are not affiliated with X, and their offerings may not reflect updates you
make on X. For more information about how we make public data on X available to the
world, visit https://developer.x.com.


3.3 When required by law, to prevent harm, or in the
public interest.
We may preserve, use, share, or disclose your information if we believe that it is
reasonably necessary to:

   ● comply with a law, regulation, legal process, or governmental request;

   ● protect the safety of any person, protect the safety or integrity of our platform,
     including to help prevent spam, abuse, or malicious actors on our services;

   ● explain why we have removed content or accounts from our services (e.g., for a
     violation of Our Rules);

   ● address fraud, security, or technical issues; or

   ● protect our rights or property, or the rights or property of those who use our
     services.


3.4 With our Affiliates.
We may share information amongst our affiliates to provide our products and services.


3.5 As a result of a change in ownership.
We may share, sell, or transfer information about you in connection with a merger,
acquisition, reorganization, sale of assets, or bankruptcy. This Privacy Policy will apply
to your personal information that is shared with (before and after the close of any
transaction) or transferred to the new entity.
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4. How Long We Keep Information
We keep different types of information for different periods of time:

   ● We keep your profile information and content for the duration of your account.

   ● We generally keep other personally identifiable data we collect when you use
     our products and services for a maximum of 18 months.

   ● Remember public content can exist elsewhere even after you remove it from X.
     For example, search engines and other third parties may retain copies of your
     posts longer, based upon their own privacy policies, even after they are deleted
     or expire on X. You can read more about search visibility here.

   ● Where you violate our Rules and your account is suspended, we may keep the
     identifiers you used to create the account (i.e., email address or phone number)
     indefinitely to prevent repeat policy offenders from creating new accounts.

   ● We may keep certain information longer than our policies specify in order to
     comply with legal requirements and for safety and security reasons.


5. Take Control
5.1 Access, Correction, Portability.
You can access, correct, or modify the information you provided to us by editing your
profile and adjusting your account settings.

   ● You can learn more about the information we have collected or inferred about
     you in Your X Data and request access to additional information here.

   ● You can download a copy of your information, such as your posts, by following
     the instructions here.

To protect your privacy and maintain security, we take steps to verify your identity
before granting you access to your personal information or complying with a deletion,
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portability, or other related request. We may, in certain situations, reject your request
for access, correction, or portability, for example, we may reject access where you are
unable to verify your identity.


5.2 Deleting your Information.
If you follow the instructions here, your account will be deactivated and your data will
be queued for deletion. When deactivated, your X account, including your display
name, username, and public profile, will no longer be viewable on X.com, X for iOS,
and X for Android. For up to 30 days after deactivation it is still possible to restore your
X account if it was accidentally or wrongfully deactivated.


5.3 Objecting to, Restricting, or Withdrawing your
Consent.
You can manage your privacy settings and other account features here. If you change
your settings it may take some time for your choices to be fully reflected throughout
our systems. You may also notice changes in your X experience or limitations in your
ability to access certain features depending on the settings you’ve adjusted. You may
also manage additional settings when interacting with certain content and features on
different parts of the platform, such as whether a Space is recorded, or whether videos
you upload are downloadable by others.

X adheres to the Digital Advertising Alliance Self-Regulatory Principles for Online
Behavioral Advertising (also referred to as “interest-based advertising”) and respects
the DAA’s consumer choice tool for you to opt out of interest-based advertising at
https://optout.aboutads.info/.


5.4 Authorized Agent Requests.
To submit a request related to access, modification, or deletion of your information, or
someone else’s information if you are their authorized agent, you may also contact us
as specified in the How To Contact X section of our Privacy Policy below. We may
require you to provide additional information for verification.
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6. Your Rights and Ours
We provide X to people all over the world and provide many of the same privacy tools
and controls to all of our users regardless of where they live. However, your experience
may be slightly diﬀerent than users in other countries to ensure X respects local
requirements.


6.1 We have speciﬁc legal bases to use your
information.
X has carefully considered the legal reasons it is permitted to collect, use, share and
otherwise process your information. If you want to dig in to learn more and better
understand the nuances, we’d encourage you to check out this additional information
about data processing. And no, we don’t sell your personal information.


6.2 We move your data to make X work for you.
Just as you use X to seamlessly participate in global conversations with people in
countries all over the world, X must move information across borders and to diﬀerent
countries around the world to support the safe and reliable service you depend on. For
example, if you live in Europe and are having a conversation with someone in the
United States, information has to move between those countries to provide that
experience – it’s what you expect from us.

We also use data centers and cloud providers, and engage our aﬃliates and third-party
partners and service providers located in many parts of the world to help us provide
our services. Before we move data between countries we look at the risks that may be
presented to the data and rely on standard contractual clauses (SCCs), where
applicable, to ensure your data rights are protected. To request a copy of the SCCs,
please contact us here. If data will be shared with a third party, we require them to
maintain the same protections over your data that we provide directly.


7. X's Audience
Our services are not directed to children, and you may not use our services if you are
under the age of 13. You must also be old enough to consent to the processing of your
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personal data in your country (in some countries we may allow your parent or guardian
to do so on your behalf).


8. Changes To This Privacy Policy
The most current version of this Privacy Policy governs our processing of your personal
data and we may revise this Privacy Policy from time to time as needed.

If we do revise this Privacy Policy and make changes that are determined by us to be
material, we will provide you notice and an opportunity to review the revised Privacy
Policy before you continue to use X.


9. General
The X Privacy Policy is written in English but is made available in multiple languages
through translations. X strives to make the translations as accurate as possible to the
original English version. However, in case of any discrepancies or inconsistencies, the
English language version of the X Privacy Policy shall take precedence. You
acknowledge that English shall be the language of reference for interpreting and
constructing the terms of the X Privacy Policy.


10. How To Contact X
We want to hear from you if you have thoughts or questions about this Privacy Policy.
You can contact us via our Privacy Policy Inquiries page or by writing to us at the
appropriate address below. Information about our handling of California Consumer
Privacy Act (CCPA) requests is available here.

If you live in the United States or any other country outside of the European Union,
EFTA States, or the United Kingdom, the data controller responsible for your personal
data is X Corp., with an address of:

X Corp.
Attn: Privacy Policy Inquiry
1355 Market Street, Suite 900
San Francisco, CA 94103
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If you live in the European Union, EFTA States, or the United Kingdom, the data
controller is Twitter International Unlimited Company, with an address of:

Twitter International Unlimited Company
Attn: Data Protection Officer
One Cumberland Place, Fenian Street
Dublin 2, D02 AX07 IRELAND

You can confidentially contact X's Data Protection Officer through our Data Protection
Inquiry Form. If you wish to raise a concern about our data processing practices, you
have the right to do so with your local supervisory authority or Twitter International
Unlimited Company’s lead supervisory authority, the Irish Data Protection Commission,
using the contact details listed on their website.

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             EXHIBIT 3
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                                                                                              Sign in




                       Twitter Privacy Policy

                       Our Services instantly connect people everywhere to what’s most
                       meaningful to them. For example, any registered user of Twitter can send a
                       Tweet, which is public by default, and can include a message of 140
                       characters or less and content like photos, videos, and links to other
                       websites.



                                         What you share on Twitter may be viewed all around the world
                                         instantly. You are what you Tweet!


                       This Privacy Policy describes how and when we collect, use, and share your
                       information across our websites, SMS, APIs, email notifications,
                       applications, buttons, embeds, ads, and our other covered services that link
                       to this Policy (collectively, the “Services”), and from our partners and other
                       third parties. For example, you send us information when you use our
                       Services on the web, via SMS, or from an application such as Twitter for
                       Mac, Twitter for Android, or TweetDeck. When using any of our Services you
                       consent to the collection, transfer, storage, disclosure, and use of your
                       information as described in this Privacy Policy. This includes any information
                       you choose to provide that is deemed sensitive under applicable law.


                       When this policy mentions “we” or “us,” it refers to the controller of your
                       information under this policy. If you live in the United States, your
                       information is controlled by Twitter, Inc., 1355 Market Street, Suite 900, San
                       Francisco, CA 94103 U.S.A. If you live outside the United States, the data




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                       controller responsible for your information is Twitter International Company,
                       an Irish company with its registered oﬃce at One Cumberland Place, Fenian
                       Street, Dublin 2 D02 AX07 Ireland. Despite this, you alone control and are
                       responsible for the posting of your Tweets and other content you submit
                       through the Services, as provided in the Terms of Service and Twitter Rules.


                       Irrespective of which country you live in, you authorize us to transfer, store,
                       and use your information in the United States, Ireland, and any other country
                       where we operate. In some of these countries, the privacy and data
                       protection laws and rules regarding when government authorities may
                       access data may vary from those in the country where you live. Learn more
                       about our global operations and data transfer here.


                       If you have any questions or comments about this Privacy Policy, please
                       submit a request through our form, available
                       at https://support.twitter.com/forms/privacy.



                       Information Collection and Use
                                         We collect and use your information below to provide,
                                         understand, and improve our Services.


                       Basic Account Information: If you choose to create a Twitter account, you
                       must provide us with some personal information, such as your name,
                       username, password, email address, or phone number. On Twitter, your
                       name and username are always listed publicly, including on your profile
                       page and in search results, and you can use either your real name or a
                       pseudonym. You can create and manage multiple Twitter accounts. If you
                       use Digits by Twitter, the contact information you provide to log in is not
                       public. Some of our product features, such as searching and viewing public
                       Twitter user profiles or watching a broadcast on Periscope’s website, do not
                       require you to create an account.




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                       Contact Information: You may use your contact information, such as your
                       email address or phone number, to customize your account or enable
                       certain account features, for example, for login verification or Twitter via
                       SMS. If you provide us with your phone number, you agree to receive text
                       messages to that number from us. We may use your contact information to
                       send you information about our Services, to market to you, to help prevent
                       spam, fraud, or abuse, and to help others find your account, including
                       through third-party services and client applications. You may use your
                       settings for email and mobile notifications to control notifications you
                       receive from Twitter. You may also unsubscribe from a notification by
                       following the instructions contained within the notification or the instructions
                       on our website. Your Discoverability privacy settings control whether others
                       can find you on Twitter by your email address or phone number.


                       Additional Information: You may choose to provide us with additional
                       information to help improve and personalize your experience across our
                       Services. For example, you may choose to upload and sync your address
                       book so that we can help you find and connect with users you know or help
                       other users find and connect with you. We may later personalize content,
                       such as making suggestions or showing user accounts and Tweets for you
                       and other users, based on imported address book contacts. You can delete
                       your imported address book contacts at any time by visiting your Contacts
                       Dashboard at https://twitter.com/settings/contacts_dashboard. If you email
                       us, we may keep your message, email address, and contact information to
                       respond to your request. If you connect your account on our Services to
                       your account on another service, the other service may send us information
                       that you authorize for use in the Services. This information may enable
                       cross-posting or otherwise help us improve the Services, and is deleted
                       from our Services within a few weeks of your disconnecting from our
                       Services your account on the other service.


                       Tweets, Following, Lists, Profile, and Other Public Information: Twitter is
                       primarily designed to help you share information with the world. Most of the
                       information you provide us through Twitter is information you are asking us



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                       to make public. You may provide us with profile information such as a short
                       biography, your location, your website, date of birth, or a picture.
                       Additionally, your public information includes the messages you Tweet; the
                       metadata provided with Tweets, such as when you Tweeted and the client
                       application you used to Tweet; information about your account, such as
                       creation time, language, country, and time zone; and the lists you create,
                       people you follow, Tweets you Like or Retweet, and Periscope broadcasts
                       you click or otherwise engage with (such as by commenting or hearting) on
                       Twitter. Twitter broadly and instantly disseminates your public information to
                       a wide range of users, customers, and services, including search engines,
                       developers, and publishers that integrate Twitter content into their services,
                       and organizations such as universities, public health agencies, and market
                       research firms that analyze the information for trends and insights. When
                       you share information or content like photos, videos, and links via the
                       Services, you should think carefully about what you are making public. We
                       may use this information to make inferences, like what topics you may be
                       interested in. Our default is almost always to make the information you
                       provide through the Services public for as long as you do not delete it, but
                       we generally give you settings or features, like protected Tweets, to make
                       the information more private if you want. For certain profile information fields
                       we provide you with visibility settings to select who can see this information
                       in your profile. If you provide us with profile information and you don’t see a
                       visibility setting, that information is public. You can change
                       the language and time zone associated with your account at any time using
                       your account settings, available at https://twitter.com/settings/account.


                       Direct Messages and Non-Public Communications: We provide certain
                       features that allow you to communicate more privately. For example, you
                       can use Direct Messages to have private conversations with other Twitter
                       users. When you privately communicate with others through our Services,
                       such as by sending and receiving Direct Messages, we will store and
                       process your communications, and information related to them. Please note
                       that if you interact with public Twitter content shared with you via Direct
                       Message, for instance by liking a Tweet shared via Direct Message, those



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                       interactions may be public. When you use features like Direct Messages to
                       communicate privately, please remember that recipients may copy, store,
                       and re-share the contents of your communications.


                       Location Information: We may receive information about your location. For
                       example, you may choose to publish your location in your Tweets and in
                       your Twitter profile. You may also tell us your location when you set your
                       trend location on Twitter.com. We may also determine location by using
                       other data from your device, such as precise location information from GPS,
                       information about wireless networks or cell towers near your mobile device,
                       or your IP address. We may use and store information about your location to
                       provide features of our Services, such as allowing you to Tweet with your
                       location, and to improve and customize the Services, for example, with
                       more relevant content like local trends, stories, ads, and suggestions for
                       people to follow. Learn more about our use of location here, and how to set
                       your location preferences here.


                       Links: We may keep track of how you interact with links across our
                       Services, including our email notifications, third-party services, and client
                       applications, by redirecting clicks or through other means. We do this to
                       help improve our Services, to provide more relevant advertising, and to be
                       able to share aggregate click statistics such as how many times a particular
                       link was clicked on. Links, Tweets, and non-public communications like
                       Direct Messages shared on the Services will be processed and links
                       shortened to a http://t.co link.


                       Cookies: Like many websites, we use cookies and similar technologies to
                       collect additional website usage data and to improve our Services, but we
                       do not require cookies for many parts of our Services such as searching and
                       looking at public user profiles. A cookie is a small data file that is transferred
                       to your computer or mobile device. We may use both session cookies and
                       persistent cookies to better understand how you interact with our Services,
                       to monitor aggregate usage by our users and web traﬃc routing on our
                       Services, and to customize and improve our Services. Although most web



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                       browsers automatically accept cookies, some browsers’ settings can be
                       modified to decline cookies or alert you when a website is attempting to
                       place a cookie on your computer. However, some Services may not function
                       properly if you disable cookies. You can control how we personalize your
                       Twitter experience and ads by using your Personalization and Data settings,
                       which are available at https://twitter.com/personalization whether or not you
                       have a Twitter account. We respond to these settings rather than the Do Not
                       Track browser option, which we no longer support. Learn more about how
                       we use cookies and similar technologies here.


                       Using Our Services: We receive information when you view content on or
                       otherwise interact with our Services, even if you have not created an
                       account (“Log Data”). For example, when you visit our websites, sign into
                       our Services, interact with our email notifications, use your account to
                       authenticate to a third-party website, application, or service, or visit a third-
                       party website, application, or service that includes Twitter content, we may
                       receive information about you. This Log Data may include your IP address,
                       browser type, operating system, the referring web page, pages visited,
                       location, your mobile carrier, device information (including device and
                       application IDs), search terms, or cookie information. We also receive Log
                       Data when you click on, view or interact with links on our Services, including
                       links to third-party applications, such as when you choose to install another
                       application through Twitter. We use Log Data to make inferences, like what
                       topics you may be interested in, and to customize the content we show you,
                       including ads. You can learn about the interests we have inferred about you
                       from your activity on and oﬀ of Twitter in Your Twitter Data, available
                       at https://twitter.com/your_twitter_data. We keep Log Data as needed for
                       the purposes described in this Privacy Policy. We will either delete Log Data
                       or remove any common account identifiers, such as your username, full IP
                       address, email address, or phone number, after a maximum of 18 months, if
                       not sooner.


                       Twitter for Web Data: We may personalize the Services for you based on
                       your visits to third-party websites that integrate Twitter content such as



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                       embedded timelines or Tweet buttons. When you view our content on these
                       websites, we may receive Log Data that includes the web page you visited.
                       We never associate this web browsing history with your name, email
                       address, phone number, or Twitter handle, and we delete, obfuscate, or
                       aggregate it after no longer than 30 days. We may use interests or other
                       information that we derive from this data to improve our Services and
                       personalize content for you, such as suggestions for people to follow,
                       advertising, and other content you may be interested in. You can see and
                       control interests that we use to personalize your experience in Your Twitter
                       Data, available at https://twitter.com/your_twitter_data. You can also control
                       whether we keep track of your visits to websites with Twitter content by
                       using your Personalization and Data settings, available
                       at https://twitter.com/personalization.


                       Advertising: Our Services are supported by advertising. We may use the
                       information described in this Privacy Policy to help make our advertising
                       more relevant to you, to measure its eﬀectiveness, and to help recognize
                       your devices to serve you ads on and oﬀ of Twitter. We do not use the
                       content you share privately in Direct Messages to serve you ads. Our Twitter
                       Ads Policy also prohibits advertisers from targeting ads based on categories
                       we consider sensitive, such as race, religion, politics, sex life, or health.
                       Twitter adheres to the Digital Advertising Alliance Self-Regulatory Principles
                       for Online Behavioral Advertising (also referred to as “interest-based
                       advertising”). If you prefer, you can opt out of interest-based advertising by
                       unchecking Personalize Ads in your Personalization and Data settings,
                       available at https://twitter.com/personalization or through the DAA’s
                       consumer choice tool at https://optout.aboutads.info. We will not use
                       information from the browser (and for logged in users, the account) on
                       which you opt out for interest-based advertising, and that browser or
                       account will not be eligible to receive interest-based ads from Twitter. Learn
                       more about your privacy options for interest-based ads here and about how
                       ads work on our Services here.


                       Third-Parties and Aﬃliates: We may receive information about you from



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                       third parties, such as other Twitter users, partners (including ad partners), or
                       our corporate aﬃliates. For example, other users may share or disclose
                       information about you, such as when they mention you, share a photo of
                       you, or tag you in a photo. Your privacy settings control who can tag you in
                       a photo. Our ad partners and aﬃliates may share information with us such
                       as a browser cookie ID, mobile device ID, or cryptographic hash of an email
                       address, as well as demographic or interest data and content viewed or
                       actions taken on a website or app. Our ad partners, particularly our
                       advertisers, may enable us to collect similar information directly from their
                       website or app by integrating our advertising technology.


                       Personalizing Across Your Devices: When you log into your account with
                       a browser or device, we will associate that browser or device with your
                       account for purposes such as authentication and personalization.
                       Depending on your settings, we may also personalize your experience on,
                       and based on information from, other browsers or devices besides the ones
                       you use to log into Twitter. For example, if you visit websites with sports
                       content on your laptop, we may show you sports-related ads on Twitter for
                       Android. You can control whether we link your account to browsers or
                       devices other than the ones you use to log into Twitter (or if you’re logged
                       out, whether we link the browser or device you’re currently using to any
                       other devices) through your Personalization and Data settings, available
                       at https://twitter.com/personalization.



                       Information Sharing and Disclosure
                                         We do not disclose your private personal information except in
                                         the limited circumstances described here.


                       User Consent or Direction: We may share or disclose your information at
                       your direction, such as when you authorize a third-party web client or
                       application to access your account or when you direct us to share your




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                       feedback with a business. When you use Digits by Twitter to sign up for or
                       log in to a third-party application, you are directing us to share your contact
                       information, such as your phone number, with that application. If you’ve
                       shared information, like Direct Messages or protected Tweets, with another
                       user who accesses Twitter through a third-party service, keep in mind that
                       the information may be shared with the third-party service.


                       Service Providers: We engage service providers to perform functions and
                       provide services to us in the United States, Ireland, and other countries. For
                       example, we use a variety of third-party services to help provide our
                       Services, such as hosting our various blogs and wikis, and to help us
                       understand and improve the use of our Services, such as Google Analytics.
                       We may share your private personal information with such service providers
                       subject to obligations consistent with this Privacy Policy and any other
                       appropriate confidentiality and security measures, and on the condition that
                       the third parties use your private personal data only on our behalf and
                       pursuant to our instructions. We share your payment information, including
                       your credit or debit card number, card expiration date, CVV code, and billing
                       address with payment services providers to process payments; prevent,
                       detect and investigate fraud or other prohibited activities; facilitate dispute
                       resolution such as chargebacks or refunds; and for other purposes
                       associated with the acceptance of credit or debit cards.


                       Law and Harm: Notwithstanding anything to the contrary in this Privacy
                       Policy, we may preserve or disclose your information if we believe that it is
                       reasonably necessary to comply with a law, regulation, legal process, or
                       governmental request; to protect the safety of any person; to address fraud,
                       security or technical issues; or to protect our or our users’ rights or property.
                       However, nothing in this Privacy Policy is intended to limit any legal
                       defenses or objections that you may have to a third party’s, including a
                       government’s, request to disclose your information.


                       Business Transfers and Aﬃliates: In the event that we are involved in a
                       bankruptcy, merger, acquisition, reorganization or sale of assets, your



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                       information may be sold or transferred as part of that transaction. This
                       Privacy Policy will apply to your information as transferred to the new entity.
                       We may also disclose information about you to our corporate aﬃliates in
                       order to help provide, understand, and improve our Services and our
                       aﬃliates’ services, including the delivery of ads.


                       Public Information: We may share or disclose your public information, such
                       as your public user profile information, public Tweets, or the people you
                       follow or that follow you. Remember: your privacy and visibility settings
                       control whether your Tweets and certain profile information are made public.
                       Other information, like your name and username, is always public on Twitter,
                       unless you delete your account, as described below.


                       Non-Personal, Aggregated, or Device-Level Information: We may share
                       or disclose non-personal, aggregated, or device-level information such as
                       the total number of times people engaged with a Tweet, the number of users
                       who clicked on a particular link or voted on a poll in a Tweet (even if only
                       one did), the characteristics of a device or its user when it is available to
                       receive an ad, the topics that people are Tweeting about in a particular
                       location, or aggregated or device-level reports to advertisers about users
                       who saw or clicked on their ads. This information does not include your
                       name, email address, phone number, or Twitter handle. We may, however,
                       share non-personal, aggregated, or device-level information through
                       partnerships with entities that may use data in their possession (including
                       data you may have given them) to link your name, email address, or other
                       personal information to the information we provide them. These
                       partnerships require that they get your consent before doing so. You can
                       control whether Twitter shares your information under these partnerships by
                       using your Personalization and Data settings, available
                       at https://twitter.com/personalization.



                       Accessing and Modifying Your Personal


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                       Information
                       If you are a registered user of our Services, we provide you with tools
                       and account settings to access, correct, delete, or modify the personal
                       information you provided to us and associated with your account. You can
                       download certain account information, including your Tweets, by following
                       the instructions here. You can learn more about the interests we have
                       inferred about you in Your Twitter Data and request access to additional
                       information here.


                       You can also permanently delete your Twitter account. If you follow the
                       instructions here, your account will be deactivated and then deleted. When
                       deactivated, your account, including your name, username, and public
                       profile, is not viewable on Twitter.com. For up to 30 days after deactivation it
                       is still possible to restore your account if it was accidentally or wrongfully
                       deactivated. Absent a separate arrangement between you and us to extend
                       your deactivation period, after 30 days, we begin the process of deleting
                       your account from our systems, which can take up to a week.


                       Keep in mind that search engines and other third parties may still retain
                       copies of your public information, like your user profile information and
                       public Tweets, even after you have deleted the information from the Twitter
                       Services or deactivated your account. Learn more here.



                       Our Global Operations
                       To bring you the Services, we operate globally. Twitter, Inc. complies with
                       the EU-US and Swiss-US Privacy Shield principles (the “Principles”)
                       regarding the collection, use, sharing, and retention of personal information
                       from the European Union and Switzerland, as described in our EU-US
                       Privacy Shield certification and Swiss-US Privacy Shield certification.


                       If you have a Privacy Shield-related complaint, please contact us here. As




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                       part of our participation in Privacy Shield, if you have a dispute with us
                       about our adherence to the Principles, we will seek to resolve it through our
                       internal complaint resolution process, alternatively through the independent
                       dispute resolution body JAMS, and under certain conditions, through the
                       Privacy Shield arbitration process.


                       Privacy Shield participants are subject to the investigatory and enforcement
                       powers of the US Federal Trade Commission and other authorized statutory
                       bodies. Under certain circumstances, participants may be liable for the
                       transfer of personal information from the EU or Switzerland to third parties
                       outside the EU and Switzerland. Learn more about the EU-US Privacy
                       Shield and Swiss-US Privacy Shield here.



                       Changes to this Policy
                       We may revise this Privacy Policy from time to time. The most current
                       version of the policy will govern our use of your information and will always
                       be at https://twitter.com/privacy. If we make a change to this policy that, in
                       our sole discretion, is material, we will notify you via an @Twitter update or
                       email to the email address associated with your account. By continuing to
                       access or use the Services after those changes become eﬀective, you agree
                       to be bound by the revised Privacy Policy.


                       Eﬀective: June 18, 2017


                       Archive of Previous Privacy Policies


                       Thoughts or questions about this Privacy Policy? Please, let us know by
                       contacting us here or writing to us at the appropriate address below.


                       For accounts based in the United States:


                       Twitter, Inc.



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                       Attn: Privacy Policy Inquiry
                       1355 Market Street, Suite 900
                       San Francisco, CA 94103


                       For accounts outside the United States:


                       Twitter International Company
                       Attn: Privacy Policy Inquiry
                       One Cumberland Place, Fenian Street
                       Dublin 2, D02 AX07 IRELAND




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           Status                      company             Using X           Developer       Advertise

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